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                                 UNITED STATES COURT OF APPEALS
                                        FOR THE SIXTH CIRCUIT                               FILED
                                                                                         August 28, 2017
      MALIBU MEDIA, LLC,                                                          DEBORAH S. HUNT, Clerk
                                                                              V                                   ^
               Plaintiff-Appellee,
                                                                      ON    APPEAL       FROM      THE
      V.                                                              UNITED      STATES    DISTRICT
                                                                      COURT FOR THE SOUTHERN
                                                                      DISTRICT OF OHIO


               Defendant-Appellant.                                        REDACTED OPINION




               BEFORE:        SUHRHEINRICH, BATCHELDER, and STRANCH, Circuit Judges

               JANE B. STRANCH, Circuit Judge. Malibu Media filed suit against

      for copyright infringement, alleging that he illegally downloaded various films owned by Malibu

      Media.                    brought a counterclaim against Malibu Media, seeking a declaratory

      judgment that he was not a copyright infringer, which the district court dismissed as redundant to

      the plaintiffs claims. Malibu Media filed a motion to voluntarily dismiss the action pursuant to

      Federal Rule of Civil Procedure 41(a)(2), which the district court granted. millH appeals
      the district court's dismissal of Malibu Media's claims against him and the dismissal of his

      counterclaim. For the following reasons, we AFFIRM.

                                            I.BACKGROUND

               Malibu Media, LLC, produces pornographic films that it offers on the web via paid

      subscription.    Despite this fee structure, Malibu Media states that on a monthly basis
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